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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )   4:08CR3035
                                                      )
                       vs.                            )   ORDER FOR DISMISSAL
                                                      )
MARTHA LILIANO MIRANDA-SANDOVAL,                      )
                                                      )
                       Defendant.                     )


       Pursuant to Motion of the United States (Filing No. 44), pursuant to Federal Rule of

Criminal Procedure 48(a), leave of court is granted for the filing of the dismissal of the

Indictment against Martha Liliano Miranda-Sandoval.

       IT IS ORDERED that the Motion to Dismiss the Indictment (Filing No. 44) is granted.

       Dated this 30th day of May, 2008.

                                               BY THE COURT:

                                               s/ RICHARD G. KOPF
                                               United States District Judge
